Case 1:21-mc-91009-LTS Document 14-2 Filed 01/15/21 Page 1of1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

THOMAS STALCUP,
Plaintiff, C.A. No. 1:21-MC-91009-LTS

Vv.

DEPARTMENT OF DEFENSE,

Defendant.

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AFFIDAVIT OF THOMAS STALCUP IN SUPPORT OF ne

PLAINTIFF'S MOTION FOR CONSOLIDATION, HEARING, AND ECF t MRIVILEGESTa

I, Thomas Stalcup, do hereby declare, subject to the penalties of perjury under the laws of
the United States, that the following statements are true and correct, to the best of my knowledge
and belief.

l. lama US citizen over the age of 18 and reside in Brookline, MA.

2. I file this affidavit in support of my recent motion for consolidation, hearing, and
ECF privileges, which I mailed via US Post separately, for manually filing in this case. That
motion should soon be entered into this case as docket number 14 or a higher number.

3. Attached hereto as Exhibit A are true and correct copies of my Local Rule 7.1

conferral emails with AUSA Rayford Farquhar, who represents both the DoD and the FBI in this

Executed this 12" day of January 2021.
/s/ <-

Thomas Stalcup, PhD
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action.

OFWs
